               Case 2:24-cv-01655 Document 1-1 Filed 03/05/24 Page 1 of 3 PageID #: 13

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Eastern District
                                                     __________         of of
                                                                 District  New  York
                                                                              __________

  BRUCE A. BLAKEMAN, in his capacity as County                         )
   Executive of the County of Nassau (See Rider)                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No.
                                                                       )
 LETITIA JAMES, as Attorney General of the State of                    )
             New York (See Rider)                                      )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Letitia James
                                           28 Liberty Street, 16th Floor
                                           New York, New York 10005

                                           (See Rider for additional Defendants' names and addresses)



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                  BRENNA B. MAHONEY
                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------X
BRUCE A. BLAKEMAN, in his capacity as
                                                                    Case No. _________-cv-2024
County Executive of the County of Nassau,
COUNTY OF NASSAU, MARC MULLEN as
                                                                    SERVICE RIDER
parent and natural guardian of K.E.M., an infant
under the age of eighteen years, and JEANINE
MULLEN, as parent and natural guardian
of K.E.M., an infant under the age of eighteen years,

                          Plaintiffs,

        -against-

LETITIA JAMES, as Attorney General of the
State of New York, STATE OF NEW YORK
OFFICE OF THE ATTORNEY GENERAL, and
STATE OF NEW YORK,

                           Defendants.
----------------------------------------------------------------X

                             Names and addresses of additional Defendants:


                            State of New York Office of the Attorney General
                                       28 Liberty Street, 16th Floor
                                      New York, New York 10005

                                              State of New York
                                        c/o New York Secretary of State
                                             One Commerce Plaza
                                            99 Washington Avenue
                                              Albany, NY 12231
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
